 Case 2:25-cv-01099-SPG-SK        Document 15   Filed 02/21/25   Page 1 of 2 Page ID
                                         #:86



1
              NOTE: CHANGES MADE BY THE COURT
2
3
4
5
6
7
                                UNITED STATES DISTRICT COURT
8
                            CENTRAL DISTRICT OF CALIFORNIA
9
                                      WESTERN DIVISION
10
11   C&M PHARMACY INC., d/b/a                    Case No. 2:25-cv-01099-ODW-DFM
     PARVIN’S PHARMACY & KATZ
12
     PHARMACY, on behalf of itself and all       ORDER GRANTING JOINT
13   others similarly situated,                  STIPULATION TO EXTEND TIME
14                                               TO RESPOND TO PLAINTIFF’S
                  Plaintiffs,                    COMPLAINT
15
16   v.                                          Courtroom 5D, 5th Floor
                                                 Honorable Otis D. Wright II
17   GOODRX, INC.; GOODRX
18   HOLDINGS, INC.; CAREMARK,
     L.L.C.; EXPRESS SCRIPTS, INC.;
19   MEDIMPACT HEALTHCARE
20   SYSTEMS, INC.; and NAVITUS
     HEALTH SOLUTIONS, LLC,
21
22                Defendants.

23
24         The Court, having read and considered the joint stipulation (the “Joint
25   Stipulation”) filed on behalf of C&M Pharmacy Inc., d/b/a Parvin’s Pharmacy & Katz
26   Pharmacy and GoodRx, Inc., GoodRx Holdings, Inc., Caremark, L.L.C., Express Scripts,
27   Inc., MedImpact Healthcare Systems, Inc., and Navitus Health Solutions LLC
28
 Case 2:25-cv-01099-SPG-SK         Document 15     Filed 02/21/25    Page 2 of 2 Page ID
                                          #:87



1    (collectively, the “Parties”), and finding GOOD CAUSE thereon, hereby grants the Joint
2    Stipulation.
3          IT IS HEREBY ORDERED that:
4          1.       Defendants’ time to answer, move, or otherwise respond in the Action is
5    extended until forty-five (45) days after the date upon which the JPML rules upon the
6    Second Motion to Transfer (the “Extension Period”).
7          2.       During the Extension Period, none of the Parties shall seek or be required to
8    provide the disclosures or discovery contemplated by Federal Rules of Civil Procedure
9    26, 30, 31, 33, 34, or 36.
10         3.       If Defendants answer, move, or otherwise plead with respect to a complaint
11   in a Related Action pending in any district, Defendants will concurrently answer, move,
12   or otherwise plead with respect to the Complaint in the Action.
13         4.       The Joint Stipulation and proposed order do not constitute a waiver of any
14   of the Parties’ claims, rights, arguments, or defenses, including but not limited to the right
15   to seek a further extension of Defendants’ time to answer or otherwise respond to the
16   Complaint or any other pleading filed by Plaintiff in any of the Related Actions.
17         5.       The Parties shall file with the Court a status report every sixty (60) days
18   informing the Court of the status of the JPML proceedings.
19         6.       The Parties shall additionally file with the Court a status report within seven
20   (7) days of the JPML’s ruling upon the Second Motion to Transfer.
21
22         IT IS SO ORDERED.
23
24   Dated: February 21, 2025                 ________________________________
                                              HON. OTIS D. WRIGHT II
25
                                              UNITED STATES DISTRICT JUDGE
26
27
28

                                                  -2-
